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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
In re Application of                                             DOC #: _________________
INVESTBANK PSC,                                                  DATE FILED: 12/30/2020


                                                                   20 Misc. 260 (AT)
For an Order Pursuant to 28 U.S.C. § 1782 to
Conduct Discovery for Use in Foreign                                    ORDER
Proceedings

ANALISA TORRES, District Judge:

        On July 24, 2020, Applicant, InvestBank PSC, submitted an ex parte petition for an order

pursuant to 28 U.S.C. § 1782(a) to obtain discovery for use in a contemplated civil proceeding in

the Emirate of Dubai (the “Petition”). ECF No. 1. Applicant seeks permission

to serve subpoenas on: Citibank, N.A.; Deutsche Bank Trust Co. Americas; Standard Chartered

Bank; The Bank of New York Mellon; JPMorgan Chase Bank, N.A.; Barclays Bank PLC; Wells

Fargo Bank, N.A.; Bank of America, N.A.; HSBC Bank USA, N.A.; Société Générale; BNP

Paribas USA; The Bank of Nova Scotia; UBS AG; Commerzbank AG; Bank of China, New

York Branch; and The Clearing House Payments Company LLC (together, the “Respondents”).

Applicant also seeks permission to proceed ex parte and a waiver of service of the Petition and

this Order on other interested parties. For the following reasons, the Petition is GRANTED.

                                          DISCUSSION

   I.      Legal Standard

        “A district court has authority to grant a § 1782 application where: (1) the person from

whom discovery is sought resides (or is found) in the district of the district court to which the

application is made, (2) the discovery is for use in a foreign proceeding before a foreign or

international tribunal, and (3) the application is made by a foreign or international tribunal or any

interested person.” Mees v. Buiter, 793 F.3d 291, 297 (2d Cir. 2015) (internal quotations and
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alterations omitted). Courts routinely grant such petitions ex parte. Gushlak v. Gushlak, 486

Fed. App’x 215, 217 (2d Cir. 2012) (“[I]t is neither uncommon nor improper for district courts to

grant applications made pursuant to § 1782 ex parte.”).

         In determining whether to grant a § 1782(a) petition, the Court may also consider “(1)

whether the person from whom discovery is sought is a participant in the foreign proceeding, in

which case the need for § 1782(a) aid generally is not as apparent; (2) the nature of the foreign

tribunal, the character of the proceedings underway abroad, and the receptivity of the foreign . . .

court or agency abroad to U.S. federal-court judicial assistance; (3) whether the § 1782(a)

request conceals an attempt to circumvent foreign proof-gathering restrictions; and (4) whether

the request is unduly intrusive or burdensome.” In re Catalyst Managerial Servs., DMCC, 680

F. App’x 37, 38–39 (2d Cir. 2017) (quoting Intel Corp. v. Advanced Micro Devices, Inc., 542

U.S. 241, 264–65 (2004)) (internal quotation marks omitted).

   II.      Analysis

            A. Ex Parte Proceeding

         Courts routinely grant similar petitions ex parte. Accordingly, Applicant’s request to

proceed without serving the Petition on Respondents is GRANTED. Gushlak, 486 Fed. App’x at

217.

            B. The Petition

         Applicant has met all three statutory requirements. First, Applicant avers that all

Respondents reside in this district. Vandenabeele Decl. ¶¶ 9–25, 29–39, ECF No. 3; Massihi

Decl. ¶ 55, ECF No. 2. Second, Applicant has established that it intends to use the discovery in a

contemplated “civil proceeding under the auspices of the Civil Court of the Emirate of Dubai”

and that formal civil proceedings are within reasonable contemplation. Massihi Decl. ¶ 31; see



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id. ¶¶ 19–30, 32–39. Under the plain text of § 1782, a foreign proceeding includes “a proceeding

in a foreign or international tribunal.” 28 U.S.C. § 1782(a); Mees, 793 F.3d at 299 (“[A]pplicant

may seek discovery of any materials that can be made use of in the foreign proceeding to

increase [its] chances of success.”); Certain Funds, Accounts &/or Inv. Vehicles v. KPMG,

L.L.P., 798 F.3d 113, 116 (2d Cir. 2015) (“It is not necessary for the adjudicative proceeding to

be pending at the time the evidence is sought, but only that the evidence is eventually to be used

in such a proceeding” (internal alterations omitted)). Third, Applicant is an interested party in

the foreign proceeding because it will be a party in the contemplated proceeding. Massihi Decl.

¶ 31.

        Each of the discretionary factors also weigh in favor of granting the subpoena. First,

Applicant claims it has no reason to believe that Respondents will be participants in the

contemplated proceeding. Massihi Decl. ¶ 46. Second, it appears that the Civil Court of the

Emirate of Dubai would likely be receptive to the discovery requests and that the evidence

sought would presumably be admissible. Id. ¶¶ 47, 54. Third, there is no evidence that

Applicant is attempting to circumvent any proof-gathering restrictions imposed by Dubai law or

otherwise seeking the discovery in bad faith. Finally, the subpoenas Applicant proposes are not

unduly intrusive or burdensome. See ECF No. 1 at 7–16. Accordingly, the Petition is

GRANTED.

           C. Waiver of Service

        Applicant requests a waiver of service of the Petition and this Order on the potential

defendants to the contemplated action and certain banks in the United Arab Emirates, because

notice could provide the potential defendants with opportunity to conceal or destroy evidence.

Massihi Decl. ¶ 52. Although Federal Rule of Civil Procedure 45 requires service of third-party



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subpoenas on parties to the underlying litigation, it is within the Court’s authority to “prescribe

otherwise.” 28 U.S.C. § 1782(a). Here, the chance that the potential defendants will tamper with

evidence upon notice of the Petition justifies an exception to Rule 45’s notice requirement. See

In re Hornbeam Corp., No. 14 Misc. 424, 2015 WL 13647606, at *5 n.14 (S.D.N.Y. Sept. 17,

2015), aff’d, 722 F. App’x 7 (2d Cir. 2018) (“Of course, where countervailing interests support a

party’s need to take discovery in secret, a district court can always . . . order, pursuant to 28

U.S.C. § 1782(a), that discovery not be taken in accordance with the Federal Rules” (emphasis in

original)). Accordingly, Applicant’s request is GRANTED.

                                          CONCLUSION

       For the reasons stated above, the Petition is GRANTED. Every thirty days, Applicant

shall file a status letter with the Court describing the status of its subpoenas and whether

discovery is sufficiently complete to permit service on the potential defendants and certain banks

in the United Arab Emirates.

       The Clerk of Court is directed to terminate the motion at ECF No. 1.

       SO ORDERED.

Dated: December 30, 2020
       New York, New York




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